Case 9:19-cv-81160-RS Document 404-1 Entered on FLSD Docket 05/01/2020 Page 1 of 6




                         EXHIBIT A
Case 9:19-cv-81160-RS Document 404-1 Entered on FLSD Docket 05/01/2020 Page 2 of 6
                                                                                 1


    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2                          WEST PALM BEACH DIVISION
                             CASE NO. 19-81160-CIVIL-SMITH
    3

    4    APPLE, INC.,                             West Palm Beach, Florida

    5                      Plaintiff,             February 12, 2020
                                                        -and-
    6                vs.                          February 13, 2020

    7    CORELLIUM, LLC,

    8                   Defendant.          Pages 1 to 368
         ______________________________________________________________
    9

   10                              MOTION HEARING
                      BEFORE THE HONORABLE WILLIAM MATTHEWMAN,
   11                      UNITED STATES MAGISTRATE JUDGE
                   (TRANSCRIBED FROM THE DIGITAL AUDIO RECORDING)
   12
         APPEARANCES:
   13

   14    FOR THE PLAINTIFF:             JESSICA STEBBINS BINA, ESQ.
                                        LATHAM & WATKINS, LLP
   15                                   10250 Constellation Boulevard
                                        Suite 1100
   16                                   Los Angeles, California 90067

   17
                                        ELANA NIGHTINGALE DAWSON, ESQ.
   18                                   LATHAM & WATKINS, LLP
                                        555 Eleventh Street, Northwest
   19                                   Suite 100
                                        Washington, DC 20004
   20

   21                                   EMILY PINCOW, ESQ.
                                        LASH & GOLDBERG, LLP
   22                                   100 Southeast Second Street
                                        Suite 1200
   23                                   Miami, Florida 33131

   24

   25
Case 9:19-cv-81160-RS Document 404-1 Entered on FLSD Docket 05/01/2020 Page 3 of 6
                                                                                 2


    1    APPEARANCES, CONT'D:

    2    FOR THE DEFENDANT:          S. JONATHAN VINE, ESQ.
                                     JUSTIN B. LEVINE, ESQ.
    3                                LIZZA CAROLA CONSTANTINE, ESQ.
                                     COLE, SCOTT & KISSANE
    4                                222 Lakeview Avenue
                                     Suite 120
    5                                West Palm Beach, Florida 33401

    6
                                     GAVIN GAUKROGER, ESQ.
    7                                BERGER SINGERMAN, LLP
                                     350 East Las Olas Boulevard
    8                                Suite 1000
                                     Fort Lauderdale, Florida 33301
    9

   10    TRANSCRIBED BY:             LISA EDWARDS, RDR, CRR
                                     (305) 439-7168
   11                                Reporterlisaedwards@gmail.com

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25
Case 9:19-cv-81160-RS Document 404-1 Entered on FLSD Docket 05/01/2020 Page 4 of 6
                                                                              136


    1    production.    It really -- that stipulation's going to cover

    2    that for the first answer, we essentially -- which is about, Do

    3    we have any contracts, documents, agreements?         We've told them

    4    we wanted that limited to related to contracts, arrangements

    5    and agreements.     And we can answer none.

    6              But when they say understanding and interaction, a

    7    person's -- a person's understanding -- I mean, I don't know

    8    how that would be defined.        But the answer's going to be none.

    9    We don't have documents or -- relating to contracts and

   10    agreements with the Federal Government regarding -- regarding

   11    the sale of the Corellium product.

   12              THE COURT:    All right.    So what RFP are you talking

   13    about?

   14              MR. VINE:    It's the second request for production,

   15    Request No. 88.

   16              MS. STEBBINS BINA:      And I do want to be heard on the

   17    RFPs, your Honor.

   18              THE COURT:    All right.    Hold on a second.

   19              MR. VINE:    I thought we had an agreement.

   20              MS. STEBBINS BINA:      We're close, but there's one issue,

   21    as I flagged to you, outside that I --

   22              THE COURT:    So let me -- you're talking about Request

   23    For Production No. 88?

   24              MR. VINE:    Correct.

   25              THE COURT:    All right.    Hold on just a second.
Case 9:19-cv-81160-RS Document 404-1 Entered on FLSD Docket 05/01/2020 Page 5 of 6
                                                                              137


    1               And it says now -- the request is now:       All documents

    2    related to any contract, arrangement, agreement, understanding

    3    or interaction between Corellium and the United States

    4    Government relating to or concerning the Corellium Apple

    5    product.

    6               For purposes of this request, the United States

    7    Government includes United States Government employees and

    8    United States Government agencies.

    9               So how are you proposing to modify that?

   10               MR. VINE:    I -- we would answer it as follows:      All

   11    documents relating to any contract, arrangement or agreement

   12    between Corellium and the United States Government related to

   13    or concerning the sale, commercial use of the -- the

   14    commercialization -- sorry -- of the Apple -- Corellium Apple

   15    product as we define it.

   16               THE COURT:   Hold on just a second.

   17               MS. STEBBINS BINA:      And that issue I do want to be

   18    heard on, your Honor, just with respect to that RFP.

   19               The other one I think will be covered by our

   20    stipulation.

   21               MR. VINE:    Correct.

   22               THE COURT:   All right.    So as far as 88, what the

   23    Defendant is proposing is a stipulation that changes the way

   24    it's currently read so that it reads:        All documents related to

   25    any contract, arrangement or agreement between Corellium and
Case 9:19-cv-81160-RS Document 404-1 Entered on FLSD Docket 05/01/2020 Page 6 of 6
                                                                              323


    1    soon as we get them all done.

    2              And then just keep in mind we need to be back here --

    3    we need to have all this production done by the 24th and then

    4    we'll be back here on the 27th at 10:00 a.m.         All right?

    5              MR. LEVINE:    Thank you, your Honor.

    6              MS. STEBBINS BINA:     Your Honor, thank you.

    7              THE COURT:    Have a good day.

    8              MS. STEBBINS BINA:     Thank you.

    9              THE COURT:    Court's in recess.

   10              (Proceedings concluded.)

   11

   12

   13
                                 C E R T I F I C A T E
   14

   15                I hereby certify that the foregoing is an

   16    accurate transcription of the proceedings in the

   17    above-entitled matter to the best of my ability.

   18

   19
         ____________            /s/Lisa Edwards
   20        DATE                LISA EDWARDS, RDR, CRR
                                 (305) 439-7168
   21                            Reporterlisaedwards@gmail.com

   22

   23

   24

   25
